Case 1:15-cv-01620-REB-CBS Document 1 Filed 07/29/15 USDC Colorado Page 1 of 15




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. ____________________


  CHARLES WALTER SMITH, III
      Plaintiff,

  v.

  JAMES KENNEDY, M.D.; and
  SAFEWAY INC.

         Defendants

                                                                                         ______

                               COMPLAINT AND JURY DEMAND
                                                                                  _______

         Comes now, Plaintiff Charles Smith, by and through his attorneys, David S. Woodruff

  and Gennevieve St. Leger of the law firm Hillyard, Wahlberg, Kudla, Sloane & Woodruff, LLP,

  respectfully submits his Complaint, and demands a jury trial of the following claims for relief

  and states, avers, and alleges as follows:

                                   I.             PARTIES

  1.     Plaintiff Charles Smith was a resident of Grand County, Colorado residing at 303 Doc

  Susie Ave., Fraser, CO 80442, when the events giving rise to the action occurred. However,

  Plaintiff is currently domiciled in Wright City, Missouri.

  2.     At all times material hereto, Defendant James Kennedy, M.D. was and is a physician

  licensed to practice medicine in the State of Colorado, practicing medicine in Colorado and

  holding himself out as having specialized knowledge and skill in the field of Family Medicine.

  At all times material hereto, Defendant Kennedy was and is the principal owner of Byers Peak
Case 1:15-cv-01620-REB-CBS Document 1 Filed 07/29/15 USDC Colorado Page 2 of 15




  Family Medicine, L.L.C., with its principal medical offices located at 78878 US Highway 40,

  Winter Park, CO 80482.

  3.     At all times material hereto, Defendant Safeway Inc. (“Defendant Safeway”) was and is a

  Delaware corporation, with its principal office located at 5918 Stoneridge Mall Rd., Pleasanton,

  CA 94588, and operating as a pharmacy licensed by the State of Colorado to provide pharmacy

  services at the location known as Safeway Pharmacy, 40 Co Rd., Fraser, CO 80442.

                              II.             JURISDICTION

  4.     Plaintiff brings his complaint under federal diversity jurisdiction, 28 U.S.C. 1332, as the

  parties are completely diverse in citizenship and the amount in controversy exceeds $75,000.

                                    III. FACTUAL ALLEGATIONS

  5.     Plaintiff incorporates by reference all preceding paragraphs of this Complaint.

  6.     At all times relevant to the claims asserted herein, Defendant Kennedy was and is the

  owner and principal operator of a medical practice known publicly and advertised as “Byers

  Peak Family Medicine, L.L.C,” located at 78878 US Highway 40, Winter Park, CO 80482.

               A.          Charles Smith’s Presentation to Defendant Kennedy

  7.     On or about July 30, 2013, Charles Smith became a new patient at Byers Peak Family

  Medicine.

  8.     On or about July 30, 2013 Plaintiff presented to Defendant Kennedy at Byers Peak

  Family Medicine for evaluation of sleep disturbances and anxiety.

  9.     Defendant Kennedy concluded that Plaintiff had a possible diagnosis of bipolar disorder.

  10.    Bipolar Disorder is a complex DSM-IV psychological diagnoses that requires a formal,

  detailed psychiatric assessment for proper diagnosis and treatment.



                                                  2
Case 1:15-cv-01620-REB-CBS Document 1 Filed 07/29/15 USDC Colorado Page 3 of 15




  11.    Defendant Kennedy did not conduct a formal detailed psychiatric assessment of

  Plaintiff’s emotional/mood disorder.

  12.    Defendant Kennedy did not refer Plaintiff to a psychiatrist or psychologist to have a

  formal detailed psychiatric assessment of his emotional/mood disorder.

  13.    Defendant Kennedy knew that Plaintiff had previously seen a psychiatrist.

  14.    Defendant Kennedy did not communicate with any of Plaintiff’s prior treating medical

  providers, or obtain prior medical records, or make any other reasonable effort to determine

  whether Plaintiff had ever been diagnosed with Bipolar Disorder.

  15.    On the basis of Plaintiff’s substance abuse history, and his symptoms of restlessness,

  apprehension, insomnia and frustration, Defendant Kennedy concluded Plaintiff suffered from

  Bipolar Disorder.

  16.    Defendant Kennedy prescribed Plaintiff 100mg dose of Lamictal (lamotrigine) once a

  day for three days and then increasing to one 100mg dose twice a day.

  17.    Defendant Kennedy did not explain to Plaintiff the nature of his medical condition and all

  of the available treatment options, the nature of lamotrigine and substantial risks associated with

  taking lamotrigine, or the alternatives to lamotrigine therapy and substantial risks associated with

  such alternatives.

  18.    In prescribing Plaintiff Lamictal (lamotrigine), Defendant Kennedy did not inform

  Plaintiff that lamotrigine carried a substantial risk of severe injury with permanent sequelae

  and/or death.




                                                   3
Case 1:15-cv-01620-REB-CBS Document 1 Filed 07/29/15 USDC Colorado Page 4 of 15




        B.     The Substantial Risk of Stevens-Johnson Syndrome and Erethema Multiforme

               (Toxic Epidermal Necrolysis) Associated With Ingestion of Lamotrigine

  19.        “Lamictal” (lamotrigine) was originally developed, and approved by the United States

  Food & Drug Administation (“FDA”), as an antiepilectic drug for treatment of seizures

  associated with epilepsy and Lennox-Gastaut syndrome.

  20.        The FDA initially approved Lamictal for treatment of partial seizures in December 1994.

  In August 1998, the FDA approved Lamictal for use as adjunctive treatment of Lennox-Gastaut

  seizure syndrome in pediatric and adult patients, and in January 2003, the FDA approved

  Lamictal for use as adjunctive therapy for partial seizures in pediatric patients as young as two

  years of age. In June 2003, the FDA approved Lamictal for maintenance treatment of adult

  patients with Bipolar I disorder.

  21.        At all times material hereto, Lamictal and its generic form, Lamotrigine, were and are

  recognized and categorized by the FDA as prescription medications that pose a serious and

  significant public health concern, associated with serious risks (relative to benefits) of which

  patients should be made aware because information concerning the risk(s) could affect patients’

  decision to use, or to continue to use, these products.

  22.        According to the FDA and pharmaceutical manufacturer(s), lamotrigine carries a

  substantial risk of causing serious injury, including permanent sequelae, and/or death.

  23.        The risks and dangers associated with lamotrigine are significant enough that the FDA

  has mandated that all potential users of lamotrigine be provided a Medication Guide, upon which

  a mandatory “Black Box Warning” is to be prominently displayed. The Black Box Warning, and

  the Medication Guide and prescribing information for lamotrigine, caution that the medication is



                                                    4
Case 1:15-cv-01620-REB-CBS Document 1 Filed 07/29/15 USDC Colorado Page 5 of 15




  known to cause “serious rash,” including Stevens-Johnson syndrome/Toxic Epidermal

  Necrolysis (erythema multiforme), a severe and potentially fatal drug reaction.

  24.    Given the significant risks and dangers associated with ingestion of lamotrigine, it is to

  be prescribed only in patient populations in whom the drug’s safety and effectiveness have been

  evaluated.

  25.    Additionally, given the significant risks and dangers associated with ingestion of

  lamotrigine, it is to be prescribed only where the demonstrated benefit significantly outweighs

  the known risk associated with the drug.

  26.    At all times material hereto, the FDA and manufacturer of lamotrigine strongly cautioned

  that a strict escalation regimen (titration) is mandatory, due to the dangers associated with

  lamotrigine.

  27.    The escalation regimen for adult patients with bipolar disorder is as follows:

         a.      25mg/daily for the first 2 weeks;

         b.      50 mg/daily for weeks 3-4;

         c.      100 mg/daily for week 5;

         d.      Ultimately reaching a maximum dosage of 200 mg in adult patients after safe

                 titration/escalation.

  28.    The manufacturer and FDA explicitly warn and instruct that “the recommended initial

  dose and subsequent dose escalations of lamotrigine should not be exceeded.”

  29.    Accordingly, prescribing a starting dose of lamotrigine of 100 mg/ daily was and is a

  violation of the FDA and manufacturer escalation regimen schedule.




                                                     5
Case 1:15-cv-01620-REB-CBS Document 1 Filed 07/29/15 USDC Colorado Page 6 of 15




  30.    The dangers of lamotrigine are substantially increased if the initial dose recommended by

  the manufacturer is exceeded.

                           C.         Defendant Safeway Pharmacy

  31.    After leaving Defendant Kennedy’s clinic, Plaintiff presented to Safeway Pharmacy to

  fill the lamotrigine prescription written by Defendant Kennedy. In the past, Plaintiff had filled

  his prescriptions at Defendant Safeway Pharmacy. Defendant Safeway knew or had reason to

  know of Plaintiff’s past medication history, including the fact that he had never before taken

  Lamictal/lamotrigine.

  32.    At all times material hereto, Defendant Safeway Pharmacy was and is an “authorized

  dispenser” (pharmacy) operating within the state of Colorado.

  33.    At all times material hereto, Defendants Safeway Pharmacy and its employees were

  required to abide by state and federal laws, rules and regulations with regard to dispensation of

  medications, including the medication dispensed to Plaintiff.

  34.    In filling Plaintiff’s prescription, Defendant Safeway Pharmacy knew or should have

  known that this was a first-time prescription of lamotrigine for Charles Smith.

  35.    In filling Plaintiff’s prescription, Defendant Safeway Pharmacy knew or should have

  known that the dispensed medication, lamotrigine, was associated with a significant risk of

  severe injury or death, including Stevens-Johnson syndrome and erythema multiforme (toxic

  epidermal necrolysis).

  36.    In filling Plaintiff’s prescription, Defendant Safeway Pharmacy knew or should have

  known that the risk of severe injury or death from lamotrigine ingestion would be greatly




                                                  6
Case 1:15-cv-01620-REB-CBS Document 1 Filed 07/29/15 USDC Colorado Page 7 of 15




  increased by the failure to comply with and adhere to manufacturer and FDA warnings and

  mandates regarding starting dose and escalation/titration regimen.

  37.    In filling Plaintiff’s prescription, Defendant Safeway Pharmacy knew or should have

  known that the mandatory starting dose of lamotrigine for a first-time user such as Plaintiff was

  25mg/day, and that an escalation/titration regimen was required as follows:

         a.      25mg/daily for the first 2 weeks;

         b.      50 mg/daily for weeks 3-4;

         c.      100 mg/daily for week 5;

         d.      Ultimately reaching a maximum dosage of 200 mg in adult patients after safe

                 titration/escalation.

  38.    Despite manufacturer and FDA warnings mandating this titration, Defendant Safeway

  Pharmacy filled the prescription written by Defendant Kennedy, providing Chuck Smith a

  starting dose of lamotrigine of 100 mg/daily increasing to 200 mg/daily after three days.

  39.    In filling the prescription, Defendant Safeway Pharmacy did not contact Defendant

  Kennedy to confirm or discuss the accuracy or appropriateness of the prescription.

  40.    In filling the prescription, Defendant Safeway Pharmacy did not discuss with Charles

  Smith the risks and dangers associated with lamotrigine, including the risk of severe injury or

  death from Stevens-Johnson Syndrome/Toxic Epidermal Necrolysis (erythema multiforme).

  41.    In filling the prescription, Defendant Safeway Pharmacy did not discuss with Plaintiff

  Charles Smith whether the medication and the prescribed dosage was safe and appropriate for

  him.




                                                     7
Case 1:15-cv-01620-REB-CBS Document 1 Filed 07/29/15 USDC Colorado Page 8 of 15




  42.    Plaintiff Charles Smith accepted the lamotrigine as prescribed by Defendant Kennedy

  and filled by Defendant Safeway Pharmacy, unaware that he had been dispensed a dose 8 times

  greater than the approved starting dose, and unaware that lamotrigine at that dose carried a

  significant risk of severe injury or death.

         Plaintiff Develops Stevens-Johnson Syndrome Due to a Lamotrigine Overdose

  43.    Upon taking the Lamictal/lamotrigine as prescribed for approximately 3 weeks, Plaintiff

  developed symptoms including a diffuse rash, dizziness, fever, and fatigue.

  44.    On or about August 26, 2013, Plaintiff presented to Byers Peak and was seen by

  Defendant Kennedy. Upon examination Defendant Kennedy identified a diffuse coalescing rash

  over Mr. Smith’s trunk, face, and extremities. Mr. Smith informed Defendant Kennedy that he

  had stopped taking the Lamictal.

  45.    Defendant Kennedy failed to recognize that Plaintiff was in the early stages of Stevens-

  Johnson syndrome.      He instead diagnosed Mr. Smith with an “allergic skin reaction” and

  prescribed prednisone.

  46.    On or about August 29, 2013, Mr. Smith called Defendant Byers Peak and told

  Defendant Kennedy the rash had not improved and he was suffering a significant amount of pain.

  Defendant Kennedy prescribed Plaintiff Hydrocodone to help treat Plaintiff’s pain symptoms.

  47.    The following day, August 30, 2013, Plaintiff presented again to Byers Peak Family

  Medicine. He was not seen by Defendant Kennedy, but was instead seen by another provider, Dr.

  Glancey, who noted Plaintiff to have a worsening rash despite prednisone treatment, and a

  temperature on 99.7 degrees Fahrenheit.       Dr. Glancey prescribed doxycycline to treat Mr.

  Smith’s rash and sent Mr. Smith home.



                                                  8
Case 1:15-cv-01620-REB-CBS Document 1 Filed 07/29/15 USDC Colorado Page 9 of 15




  48.    The following day, August 31, 2013, Mr. Smith’s rash continued to worsen and he

  presented to Middle Park Medical Center with rashes on his face, chest, back, arms and legs

  along with buccal lesions. Mr. Smith was discharged home from Middle Park Medical Center

  with 60mg prednisone, pain medication, and instructions to discontinue the doxycycline and to

  return for follow up.

  49.    On September 2, 2013, Mr. Smith’s symptoms continued to worsen. He returned to

  Middle Park Medical Center with a temperature over 102 degrees, swollen lymph nodes, and the

  rash had spread to cover his entire body including his lips. Mr. Smith had obvious erythema,

  urticaria, edema, and peeling to 90% of his skin surface. He also had dry eyes, a dry mouth with

  cracks and ulcerations to his lips and tongue.

  50.    Mr. Smith was transferred from Middle Park Medical Center via ambulance to University

  Hospital Burn ICU in Aurora, Colorado.

  51.    Mr. Smith was admitted to the burn unit at University Hospital. Plaintiff was diagnosed

  with Stevens Johnson Syndrome progressing to Toxic Epidermal Necrolysis. Lamictal was

  identified as the likely causative agent of Plaintiff’s symptoms. Plaintiff remained admitted in

  the burn unit for approximately three weeks, where he underwent extensive medical care and

  treatment.

  52.    As a result of his adverse drug reaction, hospitalization, and ongoing medical

  complications and treatment, Plaintiff Charles Smith has suffered economic and noneconomic

  damages and losses. He has suffered, and will continue to suffer for the remainder of his

  lifetime, severe and extensive medical complications stemming from his SJS/TEN, including, but

  not limited to:



                                                   9
Case 1:15-cv-01620-REB-CBS Document 1 Filed 07/29/15 USDC Colorado Page 10 of 15




          a.      Permanent damage to eyes;

          b.      Sensitivity and scarring to skin, including lesions;

          c.      Scarring and damage to mucous membranes including organs;

          d.      Damage to joints;

          e.      Chronic outbreaks of rashes, boils and other skin conditions;

          f.      Systemic Inflammatory Response Syndrome ("SIRS") resulting in

                  hyperglycemia/diabetes;

          g.      Increased likelihood of/risk for clotting disorders;

          h.      Increased likelihood of/risk for renal failure; and

          i.      Decreased mucosal capacity.

                                   IV. FIRST CLAIM FOR RELIEF

                                   (Negligence - Defendant Kennedy)

   53.    Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

   54.    At all times material hereto, with respect to the care and treatment provided to Plaintiff

   Charles Smith, Defendant Kennedy held himself out as a specialist in the field of family

   medicine.

   55.    At all times material hereto, Defendant Kennedy owed a duty to Plaintiff Charles Smith

   to exercise that degree of skill, care, caution, diligence, and foresight exercised and expected of

   other physicians practicing in the field of family medicine.

   56.    Defendant Kennedy defendant Kennedy breached that duty, and was negligent, by,

   including but not limited to, the following acts or failures to act:




                                                     10
Case 1:15-cv-01620-REB-CBS Document 1 Filed 07/29/15 USDC Colorado Page 11 of 15




          a.      Negligently failing to properly evaluate, diagnose, and treat Plaintiff’s medical

                  condition;

          b.      Negligently failing to ascertain or confirm the accuracy of a diagnosis in making

                  treatment decisions;

          c.      Negligently making treatment decisions/recommendations;

          d.      Negligently failing to advise Plaintiff of the nature of his medical condition, the

                  nature of and risks associated with the proposed treatment, and the alternative

                  treatments available and the risks associated with those alternatives;

          e.      Negligently prescribing medication in a manner that was not appropriate for

                  Plaintiff;

          f.      Negligently prescribing a starting medication dosage that created an unnecessary

                  and substantial risk of severe injury and/or death; and

          g.      Negligently failing to provide proper follow up supervision and treatment.

   57.    As a direct and proximate result of Defendant Kennedy’s negligence, Plaintiff Charles

   Smith has suffered injuries, damages, and losses including but not limited to pain, suffering,

   permanent physical impairment and disfigurement, loss of earnings/earning capacity, and past

   and future medical expenses.

                                V. SECOND CLAIM FOR RELIEF –

                         (Lack of Informed Consent – Defendant Kennedy)

   58.    Plaintiff incorporates all preceding paragraphs as if fully set forth herein.

   59.    At all times material hereto, Defendant Kennedy owed a duty to Plaintiff Charles Smith

   to exercise that degree of skill, care, caution, diligence, and foresight exercised and expected by



                                                    11
Case 1:15-cv-01620-REB-CBS Document 1 Filed 07/29/15 USDC Colorado Page 12 of 15




   other health care providers practicing in a family medicine setting in obtaining Plaintiff’s

   informed consent prior to providing medical care and treatment.

   60.    Defendant Kennedy defendant Kennedy breached that duty, and was negligent, by failing

   to obtain informed consent from Plaintiff, including but not limited to the following acts or

   omissions:

          a.      Failing to inform Plaintiff of the nature of his medical condition;

          b.      Failing to inform Plaintiff of the nature of the proposed medical treatment;

          c.      Failing to inform Plaintiff of the alternative treatments available;

          d.      Failing to inform Plaintiff of the substantial risks associated with the proposed

                  treatment, and the substantial risks, if any, of the alternative treatments.

   61.    Defendant Kennedy knew or should have known that Lamictal/lamotrigine therapy was

   associated with severe side effects and adverse events, including Stevens Johnson

   syndrome/Toxic Epidermal Necrolysis.

   62.    Despite actual or constructive knowledge of the substantial risks associated with

   Lamictal/lamotrigine therapy, and despite having a duty to communicate such information to

   Plaintiff, Defendant Kennedy failed to advise Plaintiff of any such risk.

   63.    A reasonable person in the same or similar circumstances as Plaintiff would not have

   consented to receiving a 100mg starting dosage of lamotrigine increasing to 200mg/daily after

   three days if he/she had been given the information required for informed consent.

   64.    As a direct and proximate result of Defendant Kennedy’s failure to properly obtain

   Plaintiff’s informed consent, Plaintiff Charles Smith has suffered injuries, damages, and losses




                                                    12
Case 1:15-cv-01620-REB-CBS Document 1 Filed 07/29/15 USDC Colorado Page 13 of 15




   including but not limited to pain, suffering, permanent physical impairment and disfigurement,

   loss of earnings/earning capacity, and past and future medical expenses.

                                 VI. THIRD CLAIM FOR RELIEF

                            (Negligence – Defendant Safeway Pharmacy)

   65.    Plaintiff incorporates all preceding paragraphs as if fully set forth herein.

   66.    At all times material hereto, Defendant Safeway Pharmacy owed a duty to its customers,

   including Plaintiff Charles Smith, to use reasonable care in establishing policies, procedures, and

   systems for dispensing prescription medications to its customers, including Plaintiff.

   67.    The pharmacist and non-pharmacist employees of Defendant Safeway Pharmacy also

   owed a duty to customers, including Plaintiff Charles Smith, to use reasonable care in dispensing

   prescription medications.

   68.    In filling Defendant Kennedy’s prescription and dispensing Lamictal/lamotrigine to

   Plaintiff, agents and employees of Defendant Safeway Pharmacy at all times acted in the course

   and scope of their employment with Defendant Safeway Pharmacy.

   69.    Defendant Safeway Pharmacy failed to use reasonable care, breached that duty, and was

   negligent, in establishing its policies, procedures and systems for dispensing potentially deadly

   medications such as Lamictal/lamotrigine.

   70.    Defendant Safeway Pharmacy, by and through its employees and/or agents failed to use

   reasonable care in dispensing lamotrigine to Plaintiff Charles Smith and breached that duty of

   care and was negligent, including but not limited to the following:

          a.      Failing to use reasonable care in dispensing Lamictal and/or its generic form

                  lamotrigine to Charles Smith;



                                                    13
Case 1:15-cv-01620-REB-CBS Document 1 Filed 07/29/15 USDC Colorado Page 14 of 15




          b.     Dispensing to Plaintiff a starting dose of Lamictal/lamotrigine that was four times

                 the mandatory initial starting dose established by the FDA and manufacturer;

          c.     Filling a prescription for Plaintiff that after the third day of treatment would be

                 eight times the mandatory initial starting dose established by the FDA and

                 manufacturer.

          d.     Negligently failing to contact the prescribing physician to verify the accuracy and

                 appropriateness of dispensing lamotrigine to Plaintiff Charles Smith;

          e.     Negligently failing to correct Defendant Kennedy’s prescription;

          f.     Negligently dispensing a dangerous medication in a dose that was potentially

                 lethal to a first-time user such as Plaintiff;

          g.     Negligently failing to ensure the safety of the Lamictal/Lamotrigine prescription

                 filled for Plaintiff; and

          h.     Negligently failing to properly notify and inform Plaintiff Charles Smith

                 regarding the risks associated with Lamictal/lamotrigine, including but not limited

                 to potential side effects and adverse events, contraindications, and signs and

                 symptoms of the known, recognized complications.

   71.    As a direct and proximate result of the negligence of Defendants Safeway Pharmacy

   Plaintiff Charles Smith has suffered injuries, damages, and losses including but not limited to

   pain, suffering, permanent physical impairment and disfigurement, loss of earnings/earning

   capacity, and past and future medical expenses.




                                                     14
Case 1:15-cv-01620-REB-CBS Document 1 Filed 07/29/15 USDC Colorado Page 15 of 15




                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays that the Court enter judgment in favor of Plaintiff and

   against the named defendants for general and special damages in an amount that will fully and

   fairly compensate Plaintiff for his injuries and damages, both past and future, prejudgment and

   post judgment interest as permitted by law, cost of this suit, expert witness fees, attorney fees,

   and for such other and further relief as this court may deem just and proper.


          PLAINTIFF REQUESTS A JURY TO HEAR ALL ISSUES IN THIS CASE

          DATED: Wednesday, July 29, 2015

                                         Respectfully submitted,

                                         HILLYARD, WAHLBERG, KUDLA, SLOANE
                                         & WOODRUFF, LLP
                                                  In accordance with C.R.C.P. 121 '1-26(9) a printed
                                         copy of this document with signatures is being maintained by the
                                         filing party and will be made available for inspection by other
                                         parties or the Court upon request.


                                         _/s/David S. Woodruff________________________
                                         David S. Woodruff, #32585
                                         Gennevieve St. Leger, #46495
                                         HILLYARD, WAHLBERG, KUDLA, SLOANE
                                         & WOODRUFF, LLP
                                         4601 DTC Blvd. Suite 950
                                         Denver, CO 80237
                                         Telephone: 303-571-5302
                                         FAX: 303-571-1806
                                         Email: david@denvertriallawyers.com
                                               gen@denvertriallawyers.com

                                         Attorneys for Plaintiff

   Plaintiff’s Address: 1140 Mac’s Cove Drive, Wright City, MO, 63390



                                                   15
